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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

     In re:                                                )    Case No. 19-40883-659
                                                           )    Chapter 11
     PAYLESS HOLDINGS LLC, et al.,                         )
                                                           )    (Joint Administration Requested)
                                        1
                             Debtors.                      )


                  DECLARATION OF STEPHEN MAROTTA, CHIEF
         RESTRUCTURING OFFICER OF PAYLESS HOLDINGS LLC, IN SUPPORT
         OF DEBTORS’ CHAPTER 11 PROCEEDINGS AND FIRST DAY PLEADINGS

              I, Stephen Marotta, hereby declare under penalty of perjury to the best of my knowledge,

 information, and belief:

              1.     I am a Senior Managing Director at Ankura Consulting Group, LLC (“Ankura”)

 and concurrently serve as the Chief Restructuring Officer of Payless Holdings LLC and twenty-

 three of its affiliated debtors and debtors in possession (collectively, with the three Canadian

 debtors described below, the “Debtors,” and, together with their non-debtor affiliates and

 subsidiaries, “Payless” or the “Company”). In this capacity, I am familiar with the Debtors’ day-

 to-day operations, business, financial affairs, and books and records.




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC
 [0673]; Payless Inc. [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware
 Company 4, Inc. [1466]; Shoe Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803];
 Payless Purchasing Services, Inc. [3043]; Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO,
 Inc. [3581]; Payless ShoeSource Distribution, Inc. [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless NYC,
 Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017]; Payless Collective GP, LLC [2940]; Collective
 Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch, LLC [9836]; Collective Brands
 Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada, Inc. [4969]; Payless
 ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource Canada LP
 [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas, Texas
 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’ service
 address is: c/o Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
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           2.         I have more than 35 years of experience providing professional accounting and

 consulting services to major corporations and businesses, including 29 years of consulting to

 financially-troubled companies. My experience includes business plan development, viability

 assessments, reengineering and overhead reduction programs, claims and preference analyses,

 crisis management, and forensic investigation and litigation support. My industry experiences

 include        retail,   healthcare,   telecommunications,   manufacturing,   wholesale   distribution,

 entertainment, and financial services. I have served in restructuring advisory roles in such chapter

 11 cases as In re Model Reorg Acquisition, LLC (aka Perfumania Inc.), Case No. 17-11794-CSS

 (Bankr. D. Del. 2017) (largest specialty retailer and distributor of fragrances and related beauty

 products in the United States); In re SynCardia Systems, Inc., Case No. 16-11599-MFW (Bankr.

 D. Del. 2016) (Chief Restructuring Officer) (medical technology company); In re C. Wonder LLC,

 Case No. 15-11127-MBK (Bankr. D.N.J. 2015) (Chief Restructuring Officer) (specialty retailer

 that designs and markets women’s clothing, jewelry, shoes, handbags and other accessories as well

 as select home goods); In re Deb Stores Holding LLC, Case No. 14-12676-KG (Bankr. D. Del.

 2014) (mall-based retailer in the juniors “fast-fashion” specialty sector); In re Daytop Village

 Foundation Incorporated, Case No. 12-11436-SCC (Bankr. S.D.N.Y. 2012) (Chief Restructuring

 Officer) (a substance abuse prevention provider); In re CoreComm N.Y., Inc., Case No. 04-10214-

 PCB (Bankr. S.D.N.Y. 2004) (Chief Restructuring Officer) (facilities-based integrated

 communications providers); In re Andover Togs, Inc., Case No. 96-41437-ALG (Bankr. S.D.N.Y.

 1996) (garment manufacturer); In re Alexander’s Inc., Case No. 92-42704 (Bankr. S.D.N.Y. 1992)

 (chain of New York area department stores); In re Federated Department Stores, Inc., Case No.

 90-00130 (Bankr. S.D. Ohio 1990) (retailing and real estate conglomerate with 258 department




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 stores operating nationwide under 10 names—including Bloomingdale’s, Abraham & Straus,

 Jordan Marsh and Burdines). 2

         3.       In early January 2019, the Debtors selected Ankura as their restructuring advisor

 because of Ankura’s experience and reputation for providing advisory and crisis management

 services in large, complex chapter 11 cases. I have overseen the team of Ankura professionals that

 has been working with the Debtors in connection with this process. On January 29, 2019, the

 Board of Managers of Payless Holdings LLC appointed me as the Chief Restructuring Officer of

 Payless Holdings LLC, the parent company, to oversee the management and operation of the

 Debtors’ business and to perform certain professional services. 3

         4.       On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions for

 relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors

 continue to operate their business and manage their affairs as debtors in possession pursuant to

 Bankruptcy Code section 1107(a) and 1108.

         5.       I submit this declaration (the “Declaration”) to assist this court (the “Court”) and

 parties in interest in: (a) understanding the Debtors, their operations, and their capital structure;

 (b) understanding the circumstances related to the commencement of the chapter 11 cases; and

 (c) in support of: (i) the Debtors’ petitions for relief under chapter 11 of the Bankruptcy Code;

 and (ii) the relief requested by the Debtors pursuant to the pleadings described herein.

         6.       Except as otherwise indicated, all facts set forth in this Declaration are based upon

 my personal knowledge of the Company’s operations and finances, information learned from my


 2
   The foregoing list is a list of cases handled by Marotta Gund Budd & Dzera, LLC, a predecessor in interest of
 Ankura, except for (i) In re Model Reorg Acquisition, LLC, which was handled by Ankura and (ii) In re Andover Togs,
 Inc., In re Alexander’s Inc. and In re Federated Department Stores, Inc., which were handled by Zolfo Cooper, a
 predecessor in interest to AlixPartners, LLP.
 3
   On January 29, 2019, the Board of Managers of Payless Holdings LLC also appointed Adrian Frankum, a senior
 Managing Director at Ankura, as Restructuring Officer of Payless Holdings LLC.


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 review of relevant documents, information supplied to me by members of the Company’s

 management, other Ankura professionals and the Company’s other professional advisors, or my

 opinion based upon my experience and knowledge. If called as a witness, I could and would testify

 competently to the facts set forth in this Declaration on that basis. I am authorized to submit this

 Declaration on behalf of the Debtors.

                                              Preliminary Statement

          7.       The Debtors have commenced these cases approximately 18 months after

 completing a restructuring and emerging from chapter 11 cases in this Court with a reduced debt

 burden. 4 Notwithstanding the decline in the Debtors’ overall financial performance, Payless Latin

 America continues to demonstrate stable growth and is the Company’s most profitable business

 segment. Moreover, Payless’ franchise business segment continues to provide the Debtors with

 favorable royalty fees. Accordingly, the Company has determined that the best way to maximize

 value for all stakeholders is to commence an orderly wind-down of the North America brick and

 mortar business and pursue a reorganization of the Latin America and franchise business segments.

 This overall strategy is to be implemented through an organized suite of international initiatives

 including (i) the commencement of these chapter 11 cases; (ii) the commencement of a CCAA

 proceeding in Canada and (iii) a reorganization around the Latin America and franchise business.

 The Company believes that this approach is in the best interests of the Debtors and their estates,

 and will preserve the most profitable segments of the Payless enterprise for the benefit of their

 stakeholders.



 4
   On April 4, 2017, the Debtors’ predecessors in interest (the “Prior Debtors”) commenced chapter 11 cases (the “Prior
 Cases”) in this Court, which were jointly administered under the caption In re Payless Holdings LLC, No. 17-42267.
 All of the Prior Cases have been closed except for the Prior Cases of Payless Holdings LLC (Case No. 17-42267) and
 Payless ShoeSource Worldwide Inc. (Case No. 17-42288). The Debtors believe that the Prior Cases, which are limited
 to final claim reconciliation and the administration of distributions to unsecured creditors, can continue to conclusion
 without interruption as a result of these chapter 11 cases.


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        8.      In furtherance of this objective, the Debtors have entered into a Consulting

 Agreement (as defined below) with the contractual joint venture comprised of Great American

 Group, LLC and Tiger Capital Group, LLC to effectuate the closure of the North America stores

 through going-out-of-business sales (the “Store Closing Sales”).

        9.      This Declaration is submitted to assist this Court in becoming familiar with the

 Debtors, the Debtors’ strategy for these chapter 11 cases, and the initial relief sought by the Debtors

 to stabilize operations. This Declaration is organized as follows: (a) Part I provides an overview

 of the Company and its operations; (b) Part II summarizes the Company’s prepetition

 organizational structure, capitalization and indebtedness; (c) Part III describes the circumstances

 leading to the commencement of these chapter 11 cases and the Company’s restructuring

 initiatives; (d) Part IV describes key components of and strategies for these chapter 11 cases; and

 (d) Part V provides an overview of the relief the Debtors seek at the outset of these chapter 11

 cases, and, through the attached Exhibit A, provides the evidentiary basis for the relief requested

 in the first day pleadings.

                                               I.
                                       Company Background

 A.     Overview

        10.     Founded in 1956 in Topeka, Kansas, Payless is an iconic American footwear retailer

 selling quality shoes at affordable prices in a self-select environment. With approximately 3,400

 stores in more than 40 countries across the world, Payless is globally recognized and is the largest

 specialty footwear retailer in the Western hemisphere. Payless operates through its three business

 segments (North America, Latin America, and franchise stores), producing approximately 110




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 million pairs of shoes per year across the world. Payless also operates an e-commerce business

 through which it sells goods online at www.payless.com and Amazon.

        11.     Payless has offered its budget-conscious customers outstanding value on basics, on-

 trend and special occasion footwear through a national assisted-service store footprint, localized

 assortment, and a low-cost integrated-sourcing business model, including a significant online

 presence.    This business model depends upon (a) identifying and developing on-trend

 merchandise, (b) developing strong relationships with branding partners, and (c) maintaining an

 overseas sourcing network that can develop and produce products at a scale and cost necessary to

 serve Payless’ customers.

        12.     Payless has a strong seasonal cadence, as evidenced by its four key selling periods:

 Easter, summer sandals, back-to-school, and Holiday. Because these periods fall relatively evenly

 throughout the course of the year, Payless’ selling periods create a broad, even flow of business

 throughout the year, even though the composition of the business varies widely depending on the

 time of year. This has served over many years to create a largely continuous overall flow of product

 from overseas suppliers through Payless’ supply chain to customers in North America and abroad.

 An interruption in this product flow typically causes significant harm to the Company’s (and thus

 the Debtors’) business.

 B.     North America

        13.     Payless’ North America business represents a majority of its store base, with

 approximately 2,500 wholly-owned stores in the United States, Puerto Rico, the U.S. Virgin

 Islands, Guam, Saipan, and Canada. Due to the industry-wide shift away from brick-and-mortar

 stores, the North America business (brick and mortar and e-commerce businesses) has experienced

 a precipitous decline in EBITDA, with 2018 EBITDA totaling negative $63 million and 2017

 EBITDA totaling negative $4 million. Payless North America also provides an extensive range of


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 operational and corporate services to the Latin America and franchise business segments, including

 product development and sourcing, retail operations, marketing, IT, finance, tax, and legal

 assistance. In connection with the Store Closing Sales for the North America business, the Debtors

 are in the process of strategically transitioning certain of the operational and corporate services

 that Payless North America provides to the Latin America and franchise segments.

 C.     Latin America

        14.     Nineteen years after opening its first store in Latin America, Payless has become

 the largest specialty footwear retailer in the region. Payless Latin America has experienced stable

 growth since its inception, opening 15-20 new stores per year and averaging 6% annual revenue

 growth since 2013. It is also highly profitable, contributing approximately $23 million to Payless’

 overall EBITDA despite accounting for less than 12% of Payless’ store footprint. Payless currently

 operates approximately 420 stores in Latin America and enjoys leadership positions in each

 relevant market.

        15.     Many of Payless’ Latin America operations are governed by joint venture

 agreements and related ancillary agreements, pursuant to which Payless receives certain sourcing

 and other corporate fees, as well as dividends, on a periodic basis, in exchange for use of the

 Debtors’ intellectual property, sourcing, operational management and information technology. In

 exchange, the joint venture agreements have allowed Payless to utilize its partners’ significant

 local market knowledge to buy, plan, and distribute their products. The Latin America business

 continues to perform well notwithstanding the challenges facing the North America brick and

 mortar business.

 D.     Franchise Store Segment

        16.     Payless’ franchise segment consists of stores operated by franchisees in several

 countries in Africa, Asia, and the Middle East. Since opening their first franchise stores in 2009,


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 the Debtors’ franchise business has grown to approximately 371 stores. The franchise stores are

 held to the same high standards as the Company’s wholly-owned and joint venture stores and

 provide a similar customer experience. The Company receives royalty fees, which typically range

 from 6 to 8 percent of the franchisee’s net revenue, pursuant to applicable franchise agreements.

 The franchise business requires minimal upfront risk, capital requirements, and overhead

 expenses, as it has historically leveraged the existing North America operations and sourcing

 capabilities to support the business segment.        Payless intends to explore opportunities in

 connection with a reorganization around the franchise business.

 E.     Merchandising Strategy and Licensing

        17.       Payless maintains a number of branding relationships to assist it in bringing to

 market popular brands and designs to follow the trends of its core customer groups. The Company

 is also party to certain license agreements that grant it rights to use a number of popular, broadly-

 recognized brands, including Champion, Christian Siriano, Disney, Star Wars, and Marvel, each

 of which helps the Company maintain its strength in various niche target markets. The Company

 also utilizes design partnerships, through which popular labels provide the Company with existing

 product designs in exchange for a fee. These partnerships allow the Company to offer its partners’

 designs under the Payless name at much cheaper prices for the consumer. Finally, the Company

 markets certain high-volume proprietary brands, such as American Eagle, among others, which it

 owns outright.

 F.     Procurement and Global Supply Chain

        18.       Payless depends heavily on its supply chain and has unique relationships with its

 vendors, primarily based out of China and Vietnam. The Company has developed long-standing

 relationships (in some cases extending over 15 years) and highly streamlined processes with key

 supplier factories. The Company’s ability to deliver its products in a timely manner also depends


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 on seamless interaction with various third-party service providers who ship and store the

 Company’s products.        This coordination across factories, distributors, shippers, carriers,

 warehousemen, and customer-facing stores is vital to ensuring Payless’ shoes reach customers at

 the right season and at the right price.

                                               II.
              Prepetition Organizational Structure, Capitalization and Indebtedness

 A.     Prepetition Organizational Structure

        19.      Payless first traded publicly in 1962, and was taken private in May 2012. As set

 forth on the structure chart attached hereto as Exhibit B, Payless Holdings LLC currently owns,

 directly or indirectly, each of Payless’ subsidiaries. One of the Debtors, Payless ShoeSource, Inc.,

 is incorporated in the state of Missouri. In addition, the Debtors operate several Payless stores

 throughout the state. The Prior Cases that are still open are pending in the United States

 Bankruptcy Court for the Eastern District of Missouri under the caption In re Payless Holdings

 LLC, No. 17-42267.

 B.     Prepetition Capital Structure and Indebtedness

        20.      The Debtors’ prepetition capital structure includes approximately $470 million in

 aggregate principal amount of outstanding debt as of the Petition Date, primarily consisting of:

 (a) approximately $156.7 million in aggregate principal amount revolving loans and FILO loans

 under the ABL Credit Facility (as defined below) as well as approximately $36 million of undrawn

 letters of credit outstanding under the ABL Credit Facility (the “Standby Letters of Credit”); and

 (b) approximately $277.2 million in secured debt under a term loan credit agreement (the “Term

 Loan Facility”). Certain non-debtor affiliates or subsidiaries included in the capital structure have

 outstanding indebtedness, including:       (x) Payless CA Management Limited, which owes

 approximately $45.4 million in aggregate principal amount of secured debt outstanding under a



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 first lien term loan (the “Payless CA Management Term Loan”); (y) Payless ShoeSource of

 Trinidad Unlimited, which owes approximately $900,000 in aggregate principal amount pursuant

 to a demand loan (the “Trinidad Demand Loan”); and (z) Payless ShoeSource Ecuador Cia. Ltda.,

 which owes approximately $5.7 million in aggregate principal amount pursuant to a credit

 agreement (the “Ecuador Loan”).

        i.      The ABL Credit Facility

        21.     Payless, Inc., Payless Finance, Inc., Payless ShoeSource, Inc. and Payless

 ShoeSource Distribution, Inc., as borrowers, the other Debtors party thereto as guarantors, Wells

 Fargo Bank, National Association (“Wells Fargo”), as collateral agent and administrative agent,

 Wells Fargo as FILO agent, and the lenders party thereto from time to time are parties to that

 certain Credit Agreement, dated as of August 10, 2017 (as amended, restated, modified, and/or

 supplemented and as in effect immediately prior to the Petition Date, the “ABL Credit Facility”).

 The ABL Credit Facility provides for (x) a senior secured revolving credit facility, with a maximum

 availability of $250 million, subject to borrowing base limitations and (y) a $35 million FILO loan.

 The ABL Credit Facility is secured by a first priority lien over certain of the Debtors’ assets

 including, among other things and subject to certain limitations, accounts, cash, inventory, and real

 property (such collateral package, the “ABL Priority Collateral”). The ABL Credit Facility is also

 secured by a junior lien on the remaining assets of the Debtors including, among other things and

 subject to certain limitations, equipment and intellectual property (such collateral package, the

 “Term Priority Collateral”). As of the Petition Date, an aggregate balance of approximately $156.7

 million remains outstanding under the ABL Credit Facility as well as approximately $36 million

 in Standby Letters of Credit.

        22.     Due to the Debtors’ diminishing liquidity the Debtors were required to enter into

 “cash dominion” with Wells Fargo, pursuant to which the Debtors agreed to cause all funds held


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 in certain of their deposit accounts, subject to any nominal minimum balances required, to be swept

 daily into an account under the dominion and control of Wells Fargo (the “Concentration

 Account”), and cause the proceeds of all collections and balances of all other deposit accounts,

 subject to any nominal minimum balances required, to also be swept daily into the Concentration

 Account.

        ii.     The Term Loan

        23.     Payless, Inc., Payless Finance, Inc., Payless ShoeSource, Inc., and Payless

 ShoeSource Distribution, Inc., as borrowers, the other Debtors party thereto as guarantors,

 Cortland Products Corp., as administrative and collateral agent, and the lenders party thereto from

 time to time are parties to that certain Term Loan and Guarantee Agreement, dated as of August

 10, 2017 (as amended, restated, modified, and/or supplemented and as in effect immediately prior

 to the Petition Date, the “Term Loan Agreement”). The Term Loan Agreement originally provided

 for $280 million of term loans secured by a first priority lien on the Term Priority Collateral and a

 second priority lien on the ABL Priority Collateral. The Term Loan Agreement is comprised of

 two tranches: Tranche A-1 in an original principal amount of $80 million and Tranche A-2 in an

 original principal amount of $200 million, which bear interest at different rates and mature on

 different dates. Tranche A-1 bears interest at LIBOR (as defined in the Term Loan Agreement)

 plus 8.00% per annum and matures on February 10, 2022 and Tranche A-2 bears interest at LIBOR

 (as defined in the Term Loan Agreement) plus 9.00% per annum and matures on August 10, 2022.

 An aggregate principal amount of $277.2 million was outstanding as of the Petition Date under the

 Term Loan Facility.

        iii.    The Intercreditor Agreement

        24.     The Debtors’ prepetition indebtedness under the ABL Credit Facility and the Term

 Loan Agreement is also subject to an intercreditor agreement, generally referred to as the


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 ABL/Term Loan Intercreditor Agreement. 5 The ABL/Term Loan Intercreditor Agreement governs

 the relative contractual rights of lenders under the ABL Credit Facility and the Term Loan Facility.

         iv.     Unsecured Claims

         25.     As of the Petition Date, the Debtors estimate that they owe approximately $225

 million to unsecured creditors, consisting primarily of amounts owed to vendors and suppliers.

 C.      Indebtedness of Non-Debtor Affiliates

         i.      The Payless CA Management Term Loan

         26.     As described in additional detail below, Payless raised capital required to fund

 ordinary-course business operations in October 2018 through the incurrence of indebtedness at a

 non-debtor affiliate that owns the Company’s 60% interest in two Latin America business joint

 venture entities.     Non-debtor Payless CA Management Limited, as the borrower, certain

 subsidiaries of Payless CA Management Limited party thereto from time to time as guarantors,

 Alden Global Opportunities Master Fund, L.P., as administrative agent, and the lenders party

 thereto from time to time are parties to that certain Term Loan and Guarantee Agreement, dated as

 of October 2, 2018 (as amended, restated, amended and restated, supplemented or otherwise

 modified from time to time, the “Payless CA Management Term Loan Agreement”). The Payless

 CA Management Term Loan Agreement, which matures on October 2, 2023 and accrues paid in

 kind interest at 10% per annum, provided for an approximately $45.5 million delayed draw term

 loan secured by a first priority lien in substantially all tangible and intangible assets of non-debtor

 Payless CA Management Limited and the other guarantor thereunder, but specifically excluding




 5
  The “ABL/Term Loan Intercreditor Agreement” means that certain Intercreditor Agreement dated as of August 10,
 2017 (as amended, supplemented, restated, amended and restated or otherwise modified from time to time) by and
 among Wells Fargo Bank, National Association, as administrative agent for the lenders under the ABL Credit
 Agreement and Cortland Products Corp., the administrative agent and collateral agent under the Term Loan, and
 acknowledged by the Debtors.


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 the Company’s 60% interest in two Latin America business joint venture entities. The obligations

 under the Payless CA Management Term Loan Agreement are also secured by a non-recourse

 pledge of the equity in non-debtor Payless CA Management Limited held by its direct parent. An

 aggregate principal amount of $45.4 million was outstanding as of the Petition Date under the

 Payless CA Management Term Loan.

        ii.     The Trinidad Demand Loan

        27.     Non-debtor Payless ShoeSource of Trinidad Unlimited, as the borrower, and First

 Citizens Bank Limited, as the lender, are parties to that certain demand loan credit facility dated

 as of December 5, 2017. The Trinidad Demand Loan, which matures on June 5, 2019, provides a

 €3,000,000 demand loan secured by a cash deposit held with First Citizens Bank Limited. The

 proceeds of Trinidad Demand Loan were used to pay a prior loan and dividends. An aggregate

 amount of $900,000 was outstanding as of the Petition Date under the Trinidad Demand Loan.

        iii.    The Ecuador Loan

        28.     Non-debtor Payless ShoeSource Ecuador Cia. Ltda., as the borrower, and Banco de

 la Produccion S.A., as the lender, are parties to that certain credit agreement comprised of two

 tranches: Tranche 1 dated as of September 29, 2017 and Tranche 2 dated as of December 14, 2017

 (the “Ecuador Loan Agreement”). PSS Latin America Holdings is the ultimate owner of the

 Payless ShoeSource Ecuador Cia. Ltda. The Ecuador Loan is comprise of two tranches: Tranche

 1 in the amount of $6 million and Tranche 2 in the amount of $2 million, which bear interest at




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 difference rates. 6 The proceeds of the Ecuador Loan were used to pay dividends. An aggregate

 amount of $5.7 million was outstanding as of the Petition Date under the Ecuador Loan.

                                                  III.
                       Events Leading to Chapter 11 and Restructuring Initiatives

 A.         The Prior Cases

            29.      I understand that beginning in early 2015, the Prior Debtors experienced a top-line

 sales decline driven primarily by: (a) a set of significant and detrimental non-recurring events,

 (b) foreign exchange rate volatility, and (c) challenging retail market conditions. Those pressures

 led to the Prior Debtors’ inability to both service their prepetition secured indebtedness and remain

 current with their trade obligations. Industry-wide declines in sales and traffic during 2015 and

 2016 compounded these challenges.                  The Prior Debtors’ weaker-than-anticipated financial

 performance forced management to curtail certain capital and marketing investments required to

 combat the broader challenges facing the retail industry. To address these challenges, the Prior

 Debtors took steps to evaluate and implement cost-reduction initiatives.

            30.      In early 2017, the Prior Debtors negotiated a restructuring support agreement with

 the support of a majority of their prepetition secured lenders and, on April 4, 2017, commenced

 the Prior Cases in this Court. On July 27, 2017, the Court confirmed the Debtors’ Fifth Amended

 Plan of Reorganization, No. 17-42267 [Docket No. 1507] (Bankr. E.D. Mo. 2017) (as

 supplemented, the “Plan”). The Plan effective date occurred on August 10, 2017 (the “Effective

 Date”). Two of the Prior Debtors’ chapter 11 cases, Payless Holdings LLC and Payless ShoeSource

 Worldwide, Inc., remain open in this Court while the claims reconciliation process and creditor

 distributions are completed.




 6
     Tranche 1 bears interest at 7.29% interest per annum. Tranche 2 bears interest at 7.45% per annum.


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        31.     The Prior Cases accomplished three main objectives: (a) approximately $435

 million in funded debt was eliminated; (b) approximately 675 underperforming brick and mortar

 stores were closed and liquidated; and (c) approximately $50 million in annual expenditure savings

 was realized through landlord concessions and modification of existing leases.

 B.     Challenges Subsequent to the 2017 Plan Effective Date

        32.     Upon emergence from the Prior Cases, the Debtors sought to capitalize on the

 deleveraging of their balance sheet with additional cost-reduction measures, including reviewing

 marketing expenses, downsizing their corporate office, reevaluating the budget for every

 department, and reducing their capital expenditures plan. Notwithstanding these measures, the

 Debtors have continued to experience a top-line sales decline driven primarily by inventory flow

 disruption during the 2017 holiday season, same store sales declines resulting in excess inventory,

 and challenging retail market conditions. These conditions are described in more detail below.

        33.     In the year following the Prior Debtors’ emergence from chapter 11, the Debtors

 faced unanticipated delays from key supplier factories. Given the significant volume of made-to-

 order shoes, the Debtors depended heavily on receiving regular shipments of product from their

 existing vendors. Due to interruptions in production during the Prior Cases, the Debtors’ key

 supplier factories took longer than expected to procure the raw materials and workers required for

 the Debtors to deliver their products in a timely manner. The delayed production caused a major

 inventory flow disruption during the 2017 Holiday season and a computer systems breakdown in

 the summer of 2018 significantly affected the back to school season, leading to diminished sales

 and same store sales declines.

        34.     The Debtors also faced an oversupply of inventory in the fall of 2018 leading into

 the winter of 2019. As a result, the Debtors were forced to sell merchandise at steep markdowns,

 which depressed margins and drained liquidity. Customers filled their closets with these deeply


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 discounted products, which served to reduce customer demand for new product. In total, millions

 of pairs of shoes were sold at below market prices in order to realign inventory and product mix.

 These challenges and the general trend toward online shopping, contributed to a decline in

 EBITDA for Payless’ North America brick and mortar stores for 2018 at negative $66 million

 compared to negative $11 million in 2017 and $51 million in 2016.

        35.     Moreover, Payless was unable to fulfill its plan for omni-channel development and

 implementation, i.e., the integration of physical store presence with online digital presence to

 create a seamless, fully integrated shopping experience for customers. As of the Petition Date, the

 completion of this unified customer experience has been limited to approximately two hundred

 stores. Without a robust omni-channel offering, Payless has been unable to keep up with the shift

 in customer demand and preference for online shopping versus the traditional brick-and-mortar

 environment. In addition, the Debtors’ liquidity constraints prevented the Debtors from investing

 in their store portfolio to open, relocate, or remodel targeted stores to keep up with competitors.

 All of the foregoing pressures prevented the Payless’ North America business from achieving

 profitability in the last eighteen months.

 C.     Efforts to Address Liquidity Challenges

        36.     The Debtors negotiated with their prepetition lenders for additional credit under

 their existing ABL Credit Facility and the strategic infusion of capital through a debt offering to

 lenders under their Term Loan Facility to build liquidity reserves in light of mounting operational

 issues. In March 2018, the Debtors executed that certain First Amendment and Joinder to Credit

 Agreement dated as of March 1, 2018, which among other things increased the aggregate FILO

 commitment under the ABL Credit Facility from $10 million to $35 million (the “ABL

 Amendment”).




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        37.     Subsequently, in August 2018, the Debtors entered into discussions with their

 existing Term Loan lenders regarding, among other things, a potential transaction structure that

 would enable the Debtors to obtain capital, manage their vendor issues, and right size their balance

 sheet. Initially the Debtors engaged with the Term Loan lenders regarding a potential equity

 offering. Due to the Company’s declining financial performance, none of the Term Loan lenders

 expressed interest in an equity offering. As such, the Debtors sought to develop an alternative

 transaction structure including a combined equity-debt offering. After attempts to negotiate an

 equity or debt offering on terms acceptable to the Term Loan Lenders proved unsuccessful, Alden

 Global Opportunities Master Fund, L.P. (“Alden”), which holds approximately 66.5% of the total

 outstanding equity of Payless, agreed to explore alternative financing options with the Company.

 Payless offered a debt financing opportunity to all of the Term Loan lenders and all lenders

 declined participation except for Alden. On October 2, 2018, Alden provided an approximately

 $45.5 million delayed draw term loan to non-debtor affiliate, Payless CA Management Limited,

 which was offered to all Term Loan lenders pursuant to the terms of the Term Loan Facility. The

 funds from this loan, which were ultimately upstreamed to fund ordinary-course business

 operations of the Debtors and their subsidiaries, provided a much-needed injection of capital.

        38.     After emerging from the Prior Cases, the Debtors also engaged in employee

 reduction measures in light of their financial performance and operational needs. In the fall of

 2017, the Debtors reduced their headquarters staff by approximately 170 employees located at the

 Debtors’ corporate headquarters in Topeka. In the winter of 2018, the Debtors terminated an

 additional 49 employees in field organization positions. Between August 2018 and the Petition

 Date, the Debtors eliminated approximately 37 employees in their finance department and almost




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 50 employees in their merchandising and design department. Finally, the Debtors eliminated 65

 store leaders and 10 group leaders in certain of their retail locations.

        39.     In October 2018, the Debtors also explored opportunities to sell their corporate

 headquarters located at 3231 S.E. 6th Avenue, Topeka, Kansas. Following an auction, the Debtors

 agreed on terms with a proposed buyer and, on December 27, 2018, entered into purchase and sale

 agreement to sell the headquarters for approximately $2 million. The purchase and sale agreement

 also provides the Debtors with a leaseback on a portion of the building, including their data center,

 dock area, and limited office space, with extensions as needed as the Debtors wind down their

 North America business. The sale closed on February 14, 2019 after the requisite consents and

 releases from the Debtors’ lenders were obtained.

 D.     Exploration of Strategic Alternatives and Restructuring Initiatives

        40.     Notwithstanding the measures taken above, Payless was unable to return to

 profitability under its current business model. While the Latin America and franchise businesses

 continued to perform well, the Debtors’ North America brick and mortar business suffered from

 same store sales declines and declining store productivity. As a result, in December 2018, the

 Company engaged PJ Solomon, L.P. (“Solomon”), as investment banker to perform a review of

 the go forward business plan and explore strategic alternatives. The Company also engaged

 Ankura, as financial advisor. Both Solomon and Ankura worked alongside Akin Gump to develop

 a restructuring strategy for the Company’s businesses.

        41.     The Company and its advisors analyzed the Company’s capital structure and

 potential alternatives, including the impact of reducing the store footprint in North America to

 various levels depending on store profitability. The analysis showed that achieving any profitable

 North America store base would require meaningful improvements in merchandizing margin,

 stabilized comparable store sales, and significant capital investment. However, the Company and


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 its advisors believed that significant value could be achieved through a reorganization around the

 Latin America and franchise businesses. As a result, the Company’s efforts shifted to preserving

 the Latin America and franchise businesses while preparing for an orderly wind down of the North

 America business.

        42.     At the same time, the Company has been managing liquidity by making only

 payments to the merchandise vendors and suppliers that are essential to the Company’s operations.

 Given the significant product volume concentrated among Payless’ small group of merchandise

 vendors abroad, the suppliers have withstood delayed payments for nearly 80 days, and some of

 them have continued to ship products to Payless in January and February of this year. The suppliers

 require immediate liquidity to procure the raw materials necessary to meet the Company’s product

 needs for maintaining the Latin America and franchise businesses. To that end, the Company and

 its advisors have been diligently meeting with vendors and suppliers to work through supply chain

 issues while limiting disruption to the greatest extent possible.

        43.     Beginning in January 2019, the Company commenced discussions with an ad hoc

 group of Term Loan lenders regarding the possible strategic alternatives including a potential

 transaction structure that would allow the Company to wind down the North America brick and

 mortar business through the commencement of these chapter 11 cases while preserving the value

 of their Latin America and franchise business. Given the relative priorities of the collateral

 securing the Debtors’ indebtedness, it is the Company’s view that the Term Loan lenders would be

 the primary recipient of value as associated with the Latin America and franchise business. For

 that reason, the Company has been in active discussions with the Term Lender group regarding

 financing to fund the reorganization efforts around such businesses. As of the commencement of




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 these chapter 11 cases, the Debtors have not obtained a commitment for such financing, but the

 Debtors intend to continue such discussions and efforts.

 E.     Appointment of Independent Managers

        44.     In January 2019, to ensure a thorough and fair process with respect to the Debtors’

 review of their strategic alternatives, the board of managers of Payless Holdings LLC (the

 “Board”) appointed Patrick Bartels and Scott Vogel to the Board as disinterested directors (the

 “Independent Managers”). Both of the Independent Managers have extensive experience serving

 on boards of managers and boards of directors in distressed situations. The Independent Managers

 will review and investigate matters regarding any transactions between the Debtors (including their

 subsidiaries and affiliates) and any related parties and/or insiders and any other matters delegated

 to the Independent Managers by the Board. The Independent Managers subsequently retained

 Seward & Kissel LLP as independent counsel to assist the Independent Managers in their review.

 The investigation is progressing, and the Independent Managers and their advisors continue their

 efforts to evaluate applicable matters and transactions.

                                              IV.
                                  The Current Chapter 11 Cases

 A.     Liquidity and Use of Cash Collateral

        45.     Prior to the Petition Date, the events herein caused the Debtors to continue to

 experience tightening liquidity, leading the ABL Lenders to impose additional reserves under the

 ABL Credit Facility that affected the Debtors’ availability under that facility. In the weeks leading

 up to these chapter 11 cases, the Debtors focused their efforts on negotiating terms for the

 consensual use of cash collateral to fund the Store Closing Sales. After arms’ length and good

 faith negotiations, the lenders under the ABL Credit Facility and Term Loan Facility agreed to the

 use of cash collateral while the Debtors wind down the North America business subject to the



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 terms and conditions set forth in the Interim Order Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

 364, 507 and 552 (1) Authorizing Use of Cash Collateral, (2) Granting Adequate Protection, (3)

 Modifying the Automatic Stay, and (4) Scheduling a Final Hearing (the “Cash Collateral Order”). 7

 B.      Store Closing Sales

         46.      As described above, the Debtors, after thoughtfully evaluating all suitable

 alternatives under the circumstances, made the difficult decision to liquidate and close all stores in

 North America. Accordingly, the Debtors and their advisors conducted an extensive evaluation

 process for selecting a consultant to serve as the Debtors’ exclusive consultant in connection with

 conducting the Store Closing Sales in the North America brick and mortar locations. The Debtors’

 evaluation process included, among other things, a formal request for proposals from potential

 consultants, access to diligence information, and review of recovery assumptions, forecasts and

 analysis. The Debtors also engaged Malfitano Advisors LLC to assist the Debtors and their lenders

 with selecting a consultant and conducting the Store Closing Sales. The Debtors received

 proposals from two bidders, a joint venture comprised of Gordon Brothers Retail Partners, LLC

 and Hilco Merchant Resources, LLC, and a joint venture of Great American Group, LLC and Tiger

 Capital Group, LLC. Each of the bidders provided a fee-based proposal and an equity proposal

 and the Debtors worked with their advisors and creditor constituencies to evaluate the various

 alternatives. Under the circumstances, the Debtors, in consultation with their advisors, determined

 that the fee-based proposal offered by the joint venture composed of Great American Group, LLC




 7
   For a summary of the terms on which the Debtors have obtained the consensual use of cash collateral, please refer
 to the Debtors’ Motion for Entry of Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507
 and 552 (1) Authorizing Use of Cash Collateral, (2) Granting Adequate Protection, (3) Modifying the Automatic Stay,
 and (4) Scheduling a Final Hearing


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 and Tiger Capital Group, LLC (together, the “Consultant”) provided the best and most competitive

 proposal to conduct the Store Closing Sales and store closings. 8

         47.      On February 12, 2019, the Debtors and the Consultant entered into the Consultant

 Agreement attached to the Store Closing Motion, which will govern the terms of the Consultant’s

 engagement (the “Consulting Agreement”). Andrian Frankum, a Senior Managing Director with

 Ankura, and I were personally involved in negotiations with the Consultant regarding the terms

 and conditions of the Consulting Agreement, and I believe they were conducted in good faith and

 at arm’s length.      The Consulting Agreement will enable the Debtors to use the logistical

 capabilities, experience, skills, and resources of the Consultant to conduct the Store Closing Sales

 effectively and efficiently. Based on my experience with liquidation agents and liquidation

 consulting agreements approved in other retail chapter 11 cases, I believe the terms of the

 Consulting Agreement are reasonable and market based. I believe that implementing the store

 closing procedures and conducting the Store Closing Sales at the Debtors’ stores in the manner

 proposed in the Store Closing Motion will provide the best and most efficient means for the

 Debtors to maximize the value of the Debtors’ inventory and other store assets.

         48.      Further, I believe that it is in the best interests of the Debtors’ estates to assume the

 Consulting Agreement and formally implement the Store Closing Sales. Prior to the Petition Date,

 the Debtors commenced “soft sales” as the stores prepared for the launch of the Store Closing

 Sales. Any delay in consummating the Store Closing Sales would diminish the recovery tied to

 the monetization of such assets for a number of reasons. Among other things, many of the Debtors’

 stores fail to generate sufficient positive cash flow to support the required costs of systems, design,



 8
   For further information regarding the store closure process, see Debtors’ Motion for Entry of Interim and Final
 Orders (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving Procedures for Store Closing
 Sales, and (III) Granting Related Relief (the “Store Closing Motion”), filed contemporaneously herewith.


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 sourcing, merchandising and other corporate costs. With the Store Closing Sales, however, these

 stores (and indeed all of the Debtors’ stores) will experience increased sales and cash inflows,

 which will supplement the Debtors’ liquidity. Moreover, the swift and orderly implementation of

 the Store Closing Sales will allow the Debtors to timely reject the applicable store leases and avoid

 the accrual of unnecessary administrative expenses for rent payments.           It is also important that

 the Store Closing Sales coincide with the Easter season, one of the Debtors’ key selling periods.

 In sum, any delay in running the Store Closing Sales could deteriorate the Debtors’ asset value and

 thus creditor recoveries in these cases.

        49.     In addition, on February 18, 2019, the Debtors engaged A&G Realty Partners, LLC

 to serve as their real estate consultant and advisor in connection with these chapter 11 cases to

 assess potential sale transactions with respect to the Debtors’ store leases.

 C.     Reorganization of Latin America and Franchise Businesses

        50.     In parallel with running the Store Closing Sales, the Company will continue to

 pursue a reorganization involving the Latin America and franchise businesses. Among other

 things, these efforts will include: (a) seeking appropriate financing or other capital investments

 for the operation efforts associated with the Latin America and franchise businesses;

 (b) transitioning support services that were previously provided by the North America business to

 the Latin America and franchise businesses; (c) evaluating the most efficient transaction structures

 to create a stand-alone Latin America and franchise business; and (d) working with the Company’s

 vendors and suppliers to adjust the supply chain to support the Latin America and franchise efforts.

 The Debtors believe that a reorganization of these business segments will provide value to the




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 Debtors’ stakeholders while maintaining the Payless brand and preserving the ability for further

 growth.

 D.     Canadian Proceedings

        51.     In connection with the relief sought in these proceeding, Debtors Payless

 ShoeSource Canada Inc., (“Payless Canada”) and Payless ShoeSource Canada GP Inc., (“Payless

 Canada GP”) will commence proceedings in Canada under the Companies’ Creditors Arrangement

 Act, R.S.C. 1985, c. C-36, as amended (“CCAA”) by filing an application with the Ontario

 Superior Court of Justice (Commercial List) (the “Canadian Court”). Payless ShoeSource Canada

 LP (“Payless ShoeSource LP” together with Payless Canada GP and Payless Canada, the

 “Canadian Debtors”), is a partnership and not an applicant in the CCAA proceedings, but the

 Canadian Debtors will seek to extend the protections of the CCAA proceedings to Payless

 ShoeSource LP.

        52.     The purpose of the proceedings is to request that the Canadian Court authorize the

 relief required to implement the wind down of the North America business with respect to the

 Debtors’ Canadian operations under the applicable provisions of the CCAA. In addition, the

 Canadian Debtors will seek the appointment of a Monitor, as required under the CCAA, to report

 to the Canadian Court regarding, among other things, the CCAA proceedings, the reasonableness

 of proposed transactions post-filing, the status of payment of post-filing obligations, the Canadian

 Debtors’ conduct of the wind down, and other events arising in the CCAA proceedings. The

 Monitor will also serve as resource for Canadian stakeholders in the CCAA proceedings. The

 Debtors will work closely with the Monitor to provide information as required under applicable

 law.

        53.     After the commencement of the CCAA proceedings, the Canadian Debtors will be

 subject to the laws governing insolvency proceedings in the US and Canada. I have been informed


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 by Canadian counsel that the CCAA proceedings to be commenced in Canada are not recognition

 proceedings under Part IV of the CCAA, but plenary proceedings which subject the Canadian

 Debtors to more fulsome supervision by the Court. Because the Canadian Debtors’ operations and

 many of their stakeholders are located in Canada, the Debtors, on advice from Canadian counsel,

 propose that with respect to the Canadian Debtors, in the event of a conflict between an order of

 this Court and an order of the Canadian Court, the order of the Canadian Court will control. I am

 advised by Akin Gump that the language governing a potential conflict between an order of this

 Court and an order of the Canadian Court in respect only of Canadian debtors in the context of

 plenary proceedings in both Canada and the U.S., was recently accepted in the cross border case

 of In Toy R Us, Inc., No. 17- 34665 (KLP) (Bankr. E.D. Va. Oct. 25, 2017) [Docket No. 725]. The

 Debtors expect to work closely with their Canadian counsel and the Monitor to avoid any

 discrepancy between the U.S. and Canadian orders wherever possible.

                                                 V.
                              Relief Sought in the First Day Pleadings

        54.     Contemporaneously herewith, the Debtors have filed a number of first day

 pleadings seeking relief that the Debtors believe is necessary to enable them to administer

 efficiently their estates with minimal disruption and loss of value during the store closing and

 reorganization efforts described herein. The Debtors request that the relief requested in each of

 the first day pleadings be granted as critical elements in ensuring the maximization of value of the

 Debtors’ estates.

        55.     I have reviewed each of the first day pleadings. The facts stated therein are true

 and correct to the best of my information and belief, and the relief sought in each of the first day

 pleadings is necessary to enable the Debtors to operate in chapter 11 with minimal disruption to

 their business operations and constitutes a critical element in successfully completing these chapter



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 11 cases. A description of the relief requested in and the facts supporting each of the first day

 pleadings is set forth in Exhibit A attached hereto and incorporated herein by reference.



                            [Remainder of page intentionally left blank]




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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.


 Executed on February 19, 2019


                                                       By: Stephen Marotta
                                                       Name: Stephen Marotta
                                                       Title: Chief Restructuring Officer, Payless
                                                              Holdings LLC




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                                                   EXHIBIT A

                              Evidentiary Support for First Day Pleadings 1




 1
  Capitalized terms used but not defined in this Exhibit A shall have the meanings ascribed to them in the Declaration
 of Stephen Marotta in Support of Debtors’ Chapter 11 Proceedings and First Day Pleadings or the first day pleadings
 described herein, as applicable.
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 I.      Debtors’ Motion Seeking Entry of an Order (I) Scheduling an Expedited Hearing on
         First Day Pleadings Filed by the Debtors, (II) Approving the Form and Manner of
         Notice Thereof and (III) Granting Related Relief (the “Expedited Hearing Motion”)

         1.      The Debtors will request entry of an order (a) scheduling an expedited hearing on

 certain of the First Day Pleadings and (b) approving the First Day Notice. I believe that expedited

 relief is essential to maintaining the normal day-to-day operations of the Debtors’ business and is

 necessary to preserve and maximize the value of Debtors’ estates.

 II.     Debtors’ Motion Seeking Entry of an Order (I) Directing Joint Administration of
         Chapter 11 Cases and (II) Granting Related Relief (the “Joint Administration
         Motion”)

         2.      Pursuant to the Joint Administration Motion, the Debtors request entry of an order

 directing procedural consolidation and joint administration of these chapter 11 cases. Given the

 integrated nature of the Debtors’ operations, joint administration of these chapter 11 cases will

 provide significant administrative convenience without harming the substantive rights of any party

 in interest.

         3.      Many of the motions, hearings, and orders in these chapter 11 cases will affect each

 and every Debtor entity. The entry of the order directing joint administration of these chapter 11

 cases will reduce fees and costs by avoiding duplicative filings and objections. Joint administration

 also will allow the U.S. Trustee and all parties-in-interest to monitor these chapter 11 cases with

 greater ease and efficiency. Moreover, joint administration will not adversely affect the Debtors’

 respective constituencies because this motion seeks only administrative, not substantive,

 consolidation of the Debtors’ estates. Parties-in-interest will not be harmed by the relief requested;

 instead, they will benefit from the cost reductions associated with the joint administration of these

 chapter 11 cases. Accordingly, on behalf of the Debtors, I respectfully submit that the joint

 administration of these chapter 11 cases is in the best interests of their estates, their creditors, and

 all other parties-in-interest.
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 III.   Debtors’ Motion Seeking Entry of an Order (I) Extending Time to (A) File Schedules
        of Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules
        of Executory Contracts and Unexpired Leases, Statements of Financial Affairs, and
        Rule 2015.3 Financial Reports, and (B) Schedule the Meeting of the Creditors and
        (II) Granting Related Relief (the “Schedules and Statements Extension Motion”)

        4.      Pursuant to the Schedules and Statements Extension Motion, the Debtors seek entry

 of an order: (a) extending the deadline by which the Debtors must file their schedules of assets

 and liabilities, schedules of current income and expenditures, schedules of executory contracts and

 unexpired leases, and statements of financial affairs by forty-six (46) days, for a total of 60 days

 from the Petition Date, without prejudice to the Debtors’ ability to request additional extensions;

 (b) authorizing the U.S. Trustee to schedule the 341 Meeting after the 40-day deadline imposed by

 Bankruptcy Rule 2003; and (c) extending the deadline by which the Debtors must file their initial

 reports of financial information with respect to entities in which the Debtors hold a controlling or

 substantial interest as set forth in Bankruptcy Rule 2015.3 to the later of: (i) 30 days after the

 meeting of creditors to be held pursuant to Bankruptcy Code section 341 or (ii) 45 days from the

 Petition Date, or to file a motion with the Court seeking a modification of such reporting

 requirements for cause, without prejudice to the Debtors’ ability to request additional extensions.

        5.      To prepare their Schedules and Statements, the Debtors will have to compile

 information from books, records, and documents relating to thousands of claims, assets, and

 contracts from each Debtor entity. Accordingly, collection of the necessary information will

 require a significant expenditure of time and effort on the part of the Debtors and their employees.

 Additionally, because numerous invoices related to prepetition goods and services have not yet

 been received and entered into the Debtors’ accounting system, it may be some time before the

 Debtors have access to all of the information required to prepare the Schedules and Statements.

 Given the amount of work entailed in completing the Schedules and Statements and the competing


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 demands on the Debtors’ employees and professionals to assist in efforts to stabilize business

 operations during the initial postpetition period, the Debtors likely will not be able to properly and

 accurately complete the Schedules and Statements within the required time period. Accordingly,

 I believe that cause exists to grant the extensions requested in the Schedules and Statements

 Extension Motion.

 IV.     Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Prepare a
         List of Creditors in Lieu of Submitting a Formatted Mailing Matrix and (B) File a
         Consolidated List of the Debtors’ 50 Largest Unsecured Creditors, (II) Authorizing
         the Debtors to Redact Certain Personal Identification Information for Individual
         Creditors, (III) Approving the Form and Manner of Notifying Creditors of
         Commencement of These Chapter 11 Cases, and (IV) Granting Related Relief (the
         “Matrix Motion”)

         6.      Pursuant to the Matrix Motion, the Debtors seek entry of an order (a) authorizing

 the Debtors to: (i) prepare a consolidated list of creditors in lieu of submitting separate mailing

 matrices for each Debtor, (ii) file a consolidated list of the Debtors’ 50 largest unsecured creditors,

 and (iii) mail initial notices through their Proposed Claims and Noticing Agent; (b) authorizing the

 Debtors to redact certain personal identification information for individual creditors; (c) approving

 the form and manner of notifying creditors of commencement of these chapter 11 cases; and

 (d) granting related relief.

         7.      I believe that permitting the Debtors to maintain a single consolidated list of

 creditors in lieu of filing a separate creditor matrix for each Debtor is warranted under the

 circumstances of these chapter 11 cases. Specifically, maintaining a single consolidated list of

 creditors will benefit the Debtors and their estates by allowing the Debtors to more efficiently

 provide required notices to parties-in-interest and reduce the potential for duplicate mailings.

 Indeed, many of the Debtors’ creditors overlap, and thus, to the extent that the Debtors are required




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 to maintain separate mailing matrices, a substantial number of parties likely would receive multiple

 copies of the same notice.

         8.      Accordingly, the Debtors, working with the proposed Claims and Noticing Agent,

 have prepared a single, consolidated list of the Debtors’ creditors in electronic format. To ensure

 that no parties-in-interest are prejudiced, the Debtors will make their consolidated list of creditors

 available in readable electronic format to any party in interest who so requests (or in non-electronic

 format at such requesting party’s sole cost and expense). Accordingly, I submit that the preparation

 and maintenance of a single consolidated creditor list is warranted under the facts and

 circumstances present in these chapter 11 cases.

 V.      Debtors’ Application for Appointment of Prime Clerk LLC as Claims, Noticing and
         Solicitation Agent Nunc Pro Tunc to the Petition Date (the “Claims Agent
         Application”)

         9.      Pursuant to the Claims Agent Application, the Debtors seek entry of an order

 appointing Prime Clerk, LLC as the Claims and Noticing Agent and Administrative for the Debtors

 in their chapter 11 cases, working under the Office of the Clerk of the Bankruptcy Court’s

 delegation of duties including the distribution of notices and the maintenance, processing, and

 docketing of proofs of claim filed in the Debtors’ chapter 11 cases. Given the complexity of these

 chapter 11 cases, the number of creditors and other parties in interest involved in these chapter 11

 cases, and the reasonableness of their rates, I believe that appointing Prime Clerk, LLC as the

 notice and claims agent in these chapter 11 cases will maximize the value of the Debtors’ estates

 for all its stakeholders.

 VI.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
         Debtors to (A) Continue Using The Cash Management System and (B) Maintain
         Existing Bank Accounts and Business Forms and Books and Records;
         (II) Authorizing Continued Intercompany Transactions; (III) Granting



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        Administrative Expenses Status to Post-Petition Intercompany Payments; and
        (IV) Granting Related Relief (the “Cash Management Motion”)

        10.     Pursuant to the Cash Management Motion, the Debtors seek the entry of interim

 and final orders authorizing, but not directing, the Debtors to (a) continue to operate the Cash

 Management System, (b) honor certain prepetition obligations related thereto, (c) maintain existing

 business forms, and (d) continue to maintain business relationships with each other and with non-

 Debtor affiliates consistent with historical practice.

        11.     The Cash Management System is vital to the Debtors’ ability to conduct business

 throughout the United States and in foreign markets. It helps control funds, serves as a repository

 for cash receipts, manages cash disbursements, ensures cash availability for each of the Debtors,

 and reduces administrative expenses by facilitating the movement of funds among multiple entities

 by centralizing cash operations. Any disruption of the Cash Management System would have an

 immediate adverse effect on the Debtors’ business and operations to the detriment of their estates

 and numerous stakeholders, as their business requires prompt access to cash and accurate cash

 tracking, particularly with respect to global merchandise flows. In addition, the Debtors’ ability

 to engage in intercompany transactions with each other and with non-Debtor affiliates as well as

 their ability to make payments on behalf of non-Debtor affiliates subject to the creation of

 intercompany claims is an important and integral part of the Debtors’ ongoing business interests.

 Discontinuing the intercompany transactions would unnecessarily disrupt the Cash Management

 System and the Debtors’ operations to the detriment of the Debtors and their stakeholders.

 Accordingly, to minimize disruption caused by these chapter 11 cases and to maximize the value

 of the Debtors’ estates, the Debtors request authority to continue to utilize their existing Cash

 Management System during the pendency of these chapter 11 cases.



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        12.     As part of their Cash Management System, the Debtors utilize various preprinted

 and electronic business forms including checks, letterhead, correspondence forms, invoices,

 purchase orders, and other business forms in the ordinary course of business (collectively, and as

 they may be modified from time to time, the “Business Forms”). The Debtors also maintain books

 and records to document their financial results and a wide array of necessary operating

 information. To minimize expenses to their estates and avoid confusion during the pendency of

 these chapter 11 cases, the Debtors should be permitted to use their currently existing Business

 Forms as such forms were in existence immediately before the Petition Date, without reference to

 the Debtors’ status as debtors in possession, rather than requiring the Debtors to incur the expense

 and delay of ordering entirely new business forms.

        13.     I believe that the relief requested in the Cash Management Motion is essential to

 the continued operation of the Debtors’ business and denial of such relief would severely disrupt,

 if not cripple, the Debtors’ businesses. I further believe that the relief requested in the Cash

 Management Motion is in the best interests of the Debtors’ estates, their creditors, and all other

 parties in interest, and will enable the Debtors to continue to operate their businesses as they

 transition into chapter 11. Accordingly, on behalf of the Debtors, I respectfully submit that the

 Court should approve the Cash Management Motion. By the Cash Management Motion, the

 Debtors seek entry of the Proposed Interim Order and Proposed Final Order authorizing, but not

 directing, the Debtors to pay any outstanding prepetition Bank Fees, which the Debtors estimate

 amount to approximately $200,000, on interim and final bases.

 VII.   Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
        Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and




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        Reimbursable Expenses and (B) Continue Employee Benefits Programs and
        (II) Granting Related Relief (the “Wages Motion”)

        14.     Pursuant to the Wages Motion, the Debtors seek entry of interim and final orders

 authorizing, but not directing, the Debtors to (a) pay prepetition wages, salaries, other

 compensation, and reimbursable expenses and (b) continue employee benefits programs in the

 ordinary course of business, including payment of certain prepetition obligations related thereto.

        15.     As of the Petition Date, the Debtors employ: (a) approximately 13,700 individuals

 in the United States, Puerto Rico, the U.S. Virgin Islands, and Guam and (b) approximately 2,400

 individuals in Canada. The Debtors’ employees perform a wide variety of functions critical to the

 administration of these chapter 11 cases and to preserving operational stability and efficiency. In

 many instances, the employees include personnel who are highly trained and cannot be easily

 replaced. Without the continued, uninterrupted services of the employees, the Debtors’ continued

 operations and ability to conduct going out of business sales will be jeopardized. Consequently,

 the relief requested herein is necessary and appropriate.

        16.     While the substantial majority of the Debtors’ employees are not represented by a

 labor union, the Debtors are party to two collective bargaining agreements with respect to

 approximately 80 employees. With respect to these employees, the Debtors seek authority (but

 not direction) to continue to provide compensation and benefits in the ordinary course of business

 and consistent with past practice. In addition to the aforementioned employees, the Debtors also

 retain independent contractors and temporary workers from staffing agencies from time to time.

 These contractors and temporary workers are a critical supplement to the efforts of the Debtors’

 Employees.




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        17.     To minimize the personal hardship that the employees would suffer if employee

 obligations are not paid when due or as expected, the Debtors seek authority to pay and honor the

 Employee Compensation and Benefits (as defined in the Wages Motion). I believe that paying

 prepetition wages, employee benefits, and similar items will benefit the Debtors’ estates and their

 creditors by allowing the Debtors’ business operations to continue without interruption. Indeed, I

 believe that without the relief requested herein, employees may seek immediate alternative

 employment opportunities. Such a development would deplete the Debtors’ workforce, thereby

 hindering the Debtors’ ability to operate their businesses and, likely, diminishing recoveries for

 stakeholders. The loss of valuable employees and resulting need to recruit new personnel (and the

 costs attendant thereto) would be distracting at this crucial time when the Debtors need to focus

 on liquidating their North America business operations and reorganizing around the remaining

 portion. There can be no doubt that the Debtors must do their utmost to retain their workforce by,

 among other things, continuing to honor certain wage, benefits, and related obligations, including

 certain of the prepetition Employee Compensation and Benefits. Accordingly, on behalf of the

 Debtors, I respectfully submit that the Court should approve the Wages Motion.

        18.     By the Wages Motion, the Debtors seek entry of an order authorizing the Debtors

 to pay prepetition amounts outstanding on account of Employee Compensation and Benefits in an

 aggregate amount not to exceed $19,506,500 on an interim basis.

 VIII. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
       to Pay Certain Prepetition Claims of (A) Critical Vendors and (B) Carriers and
       Warehousemen and (II) Granting Related Relief (the “Critical Vendors Motion”)

        19.     Pursuant to the Critical Vendors Motion, the Debtors seek entry of interim and final

 orders authorizing, but not directing, the Debtors to pay prepetition claims held by (a) Critical




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 Vendors and (b) certain Carriers and Warehousemen (each as defined in the Critical Vendors

 Motion).

         20.     As the Store Closing Sales run their course, the Debtors will required the continued

 cooperation of, and assistance from, their Critical Vendors to wind down their North America brick

 and mortar business successfully. To this end, the Critical Vendors that supply services (the

 “Critical Vendor Services”), particularly with regard to their information technology (“IT”)

 infrastructure, are available only from a limited number of vendors that are able to maintain the

 Debtors’ integrated IT systems. The Critical Vendor Services provide IT solutions including,

 among other things, professional services to maintain the Debtors’ call center activity for all stores

 and associates, database and mainframe operations, software licenses and keys, and customer

 communications regarding promotions. The Debtors’ IT systems run continuously and require

 regular maintenance and repairs. In addition, certain of the Critical Vendors provide temporary

 employment services at (i) the Debtors’ distribution centers, where the Debtors’ products are

 processed before being shipped to store locations, and (ii) at the Debtors’ corporate headquarters

 to fill open positions.

         21.     With the assistance of their advisors, the Debtors have spent significant time

 reviewing and analyzing their books and records, consulting operations managers and purchasing

 personnel, reviewing contracts, and analyzing applicable law, regulations, and historical practice

 to understand the Debtors’ critical business relationships and suppliers of services—the loss of

 which would immediately and irreparably harm their business, by, inter alia, preventing the

 Debtors from: (i) tracking inventory; (ii) distributing their remaining products in the supply chain

 to store locations and (iii) sending customer communications, all of which are necessary to the

 success of the Store Closing Sales.


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           22.   The success of the Debtors’ Store Closing Sales also depends on the uninterrupted

 flow of inventory through its supply chain and distribution network, including the purchase,

 importation, storage, and shipment of the Debtors’ merchandise. The Debtors engage certain

 vendors to transport, deliver, and store the Carrier and Warehouse Products. The Carriers regularly

 possess the Carrier and Warehouse Products belonging to the Debtors and certain of the Debtors’

 partners in the course of transporting and delivering the Carrier and Warehouse Products. The

 refusal of carriers or warehousemen to deliver or return the Debtors’ goods as a result of not being

 paid would severely disrupt the Debtors’ operations and potentially cost the Debtors a substantial

 amount of revenue and future business. Accordingly, I believe cause exists to grant the relief

 requested in the Critical Vendors Motion.

           23.   By the Critical Vendors Motion, the Debtors seek entry of the Proposed Interim

 Order and Proposed Final Order (i) authorizing, but not directing, the Debtors to pay (a) the Critical

 Vendor Claims in an aggregate amount not to exceed $5 million and (b) the Carriers and

 Warehousemen Claims in an aggregate amount not to exceed $6.5 million and (ii) granting related

 relief.

 IX.       Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Prohibiting Utility
           Providers From Altering, Refusing, or Discontinuing Utility Services,
           (II) Determining Adequate Assurance of Payment for Future Utility Services,
           (III) Establishing Procedures for Determining Adequate Assurance of Payment, and
           (IV) Granting Related Relief (the “Utilities Motion”)

           24.   Pursuant to the Utilities Motion, the Debtors seek entry of interim and final orders:

 (a) prohibiting utility providers from altering, refusing, or discontinuing services; (b) determining




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 adequate assurance of payment for future utility services; and (c) establishing procedures for

 determining adequate assurance of payment for future utility services.

        25.     In the ordinary course of their business and management of their properties, the

 Debtors obtain electricity, natural gas, water and sewage, telephone, internet, cable, and other

 similar utility services from approximately 1330 utility providers. On average, the Debtors pay

 approximately $2,103,384.77 million each month for the Utility Services, calculated as a historical

 average over the twelve months ended December 2018. In the ordinary course of business, the

 Debtors pay for all utility services through third-party agents, which then pay the Company’s

 utility providers directly for utility services provided to the Company. These third-party utility

 agents charge a fee for their services.

        26.     Preserving Utility Services on an uninterrupted basis is essential to the Debtors’

 ability to administer these chapter 11 cases.        It is critical that Utility Services continue

 uninterrupted during these chapter 11 cases. Accordingly, on behalf of the Debtors, I respectfully

 submit that the Court should approve the Utilities Motion.

        27.     By the Utilities Motion, the Debtors seek entry of the Proposed Interim and

 Proposed Final order authorizing the Debtors to deposit an aggregate amount of $1,100,000 in the

 Adequate Assurance Account for the purposes of the Adequate Assurance Procedures.

 X.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
        Debtors to (A) Continue Insurance Coverage Entered Into Prepetition and Satisfy
        Prepetition Obligations Related Thereto, and (B) Renew, Supplement, or Purchase
        Insurance Policies, and (II) Granting Related Relief (the “Insurance Motion”)

        28.     Pursuant to the Insurance Motion, the Debtors seek entry of interim and final orders

 authorizing the Debtors to (a) continue insurance coverage entered into prepetition and satisfy

 prepetition obligations related thereto in the ordinary course of business and (b) renew,



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 supplement, or purchase insurance coverage in the ordinary course of business on a postpetition

 basis.

          29.   In the ordinary course of business, the Debtors maintain approximately 110

 domestic and foreign insurance policies (the “Insurance Policies”) administered by multiple third-

 party insurance carriers. The Insurance Policies provide the Debtors with coverage for, among

 other things, the Debtors’ property, general liability, automobile liability, marine cargo, travel

 accident, directors’ and officers’ liability, employment practices liability, fiduciary liability,

 employed lawyers professional liability, and foreign commercial liability.        In addition, the

 Insurance Policies include several layers of excess liability coverage and an umbrella policy.

          30.   I believe that continuation of the Insurance Policies, payment of the Deductible

 Fees, Brokerage Fees, and Insurance Administrator Fees (each as defined in the Insurance Motion),

 and entry into new insurance policies is essential to the preservation of the value of the Debtors’

 properties and assets. Further, I believe that continuation of the services of the Brokers and

 Insurance Administrators is necessary to assure the Debtors’ ability to secure Insurance Policies

 on advantageous terms at competitive rates, facilitate the proper maintenance of the Debtors’

 Insurance Policies postpetition, and ensure adequate protection of the Debtors’ property

 postpetition. Accordingly, on behalf of the Debtors, I respectfully submit that the Court should

 approve the Insurance Motion.

          31.   By the Insurance Motion, the Debtors seek entry of the Proposed Interim Order and

 Proposed Final Order authorizing, but not directing, the Debtors to pay up to $360,000 in

 Deductible Fees.




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 XI.    Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
        Payment of Certain Prepetition Taxes and Fees and (II) Granting Related Relief (the
        “Taxes Motion”)

        32.     Pursuant to the Taxes Motion, the Debtors seek entry of interim and final orders

 authorizing the Debtors to remit and pay Taxes and Fees accrued prior to the Petition Date and that

 will become payable during the pendency of these chapter 11 cases, including those obligations

 subsequently determined upon audit or otherwise to be owed for periods prior to the Petition Date.

        33.     In the ordinary course of their business, the Debtors collect, withhold, and incur

 income, sales, use, excise, import, franchise, foreign, and property taxes, as well as business fees

 (together, the “Taxes and Fees”). The Debtors remit the Taxes and Fees to various federal, state,

 local, and foreign governmental units, including taxing authorities. Taxes and Fees are remitted

 and paid by the Debtors through checks and electronic transfers that are processed through the

 financial institutions at which the Debtors maintain the bank accounts that comprise their cash

 management system.

        34.     The Debtors’ failure to pay prepetition Taxes and Fees may cause the Authorities

 to take precipitous action, including, but not limited to, conducting audits, filing liens, preventing

 the Debtors from doing business in certain jurisdictions, seeking to lift the automatic stay, or

 pursuing payment of the Taxes and Fees from the Debtors’ directors, officers, or employees,

 thereby distracting such key personnel from the administration of these chapter 11 cases.

        35.     Although the Debtors believe that they are substantially current with respect to their

 payment of Taxes and Fees, the Debtors seek to make such payments where: (a) Taxes and Fees

 are accrued or incurred postpetition; (b) Taxes and Fees accrued or were incurred prepetition but

 were not paid prepetition, or were paid in an amount less than actually owed; (c) Taxes and Fees

 paid prepetition by the Debtors were lost or otherwise not received in full by any of the Authorities;


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 or (d) Taxes and Fees were incurred for prepetition periods but will become due after the

 commencement of these chapter 11 cases. I believe that the relief requested in the Taxes Motion

 is in the best interests of the Debtors’ estates, their creditors, and all other parties in interest, and

 will enable the Debtors to continue to operate their business in chapter 11 without disruption.

 Accordingly, on behalf of the Debtors, I respectfully submit that the Court should approve the

 Taxes Motion.

         36.     By the Taxes Motion, the Debtors seek entry of the Proposed Interim Order and

 Proposed Final Order authorizing, but not directing, the Debtors to pay Taxes and Fees in an

 aggregate amount not to exceed $10,285,000 without further relief from the Court.

 XII.    Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Approving
         Notification and Hearing Procedures for Certain Transfers of and Declarations of
         Worthlessness with Respect to Common Stock and (II) Granting Related Relief (the
         “NOL Motion”)

         37.     Pursuant to the NOL Motion, the Debtors seek entry of interim and final orders

 approving certain notification and hearing procedures related to certain transfers of, or declarations

 of worthlessness with respect to, Debtor Payless Holdings LLC’s common stock or any beneficial

 ownership therein, and directing that any purchase, sale, other transfer of, or declaration of

 worthlessness with respect to Common Stock in violation of the Procedures shall be null and void

 ab initio.

         38.     I understand that the Debtors possess NOLs and certain other Tax Attributes (each

 as defined in the NOL Motion) that are of significant value to the Debtors and their estates because

 the Debtors can carry forward such Tax Attributes to reduce future taxable income, thereby

 reducing their future aggregate tax obligations. The NOLs are substantial, and I believe that any

 termination or limitation of the NOLs including during the first month of these chapter 11 cases



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 could cause significant and irreparable damage to the Debtors’ estates and stakeholders. As of the

 Petition Date, the federal NOLs total approximately $231 million and state NOLs total

 approximately $373 million.

        39.     If no restrictions on trading or worthlessness deductions are imposed as requested

 in the NOL Motion, such trading or deductions could severely limit or even eliminate the Debtors’

 ability to utilize the NOLs. I believe that the loss of these valuable estate assets could lead to

 significant negative consequences for the value of the Debtors’ estates and for their stakeholders.

 I further believe that the Procedures and other relief requested in the NOL Motion are critical for

 maximizing estate value and will help ensure a meaningful recovery for creditors. Accordingly,

 on behalf of the Debtors, I respectfully submit the Court should grant the relief requested in the

 NOL Motion.

 XIII. Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
       Debtors to Continue and Renew the Surety Bond Program on an Uninterrupted Basis,
       and (II) Granting Related Relief (the “Surety Bond Motion”)

        40.     By the Surety Bond Motion, the Debtors seek entry of interim and final orders

 authorizing the Debtors to continue and renew the Surety Bond Program on an uninterrupted basis.

 In the ordinary course of business, certain third parties, including governmental units or other

 public agencies, require the Debtors to post surety bonds to secure their payment or performance

 of certain obligations. These obligations relate to, among other things: (a) customs and excise tax

 obligations; (b) utilities; (c) sales and use tax obligations; and (d) workers’ compensation claims.

 Failure to provide, maintain, or timely replace the Debtors’ surety bonds may prevent the Debtors

 from undertaking essential functions related to their operations.

        41.     The Debtors must be able to provide financial assurances to governmental units,

 public agencies, and other third parties. This, in turn, requires the Debtors to maintain the existing


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 Surety Bond Program, including: (a) paying Premiums as they come due; (b) providing the Sureties

 with collateral; (c) renewing or potentially acquiring additional bonding capacity as needed in the

 ordinary course of their business; (d) requesting releases from duplicate bonding obligations;

 (e) canceling, revising, and/or supplementing surety bonds; and (f) executing other agreements in

 the ordinary course of business, as needed, in connection with the Surety Bond Program.

         42.     I believe that the relief requested in the Surety Bond Motion is in the best interests

 of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors

 to continue to operate their business in chapter 11 without disruption. Accordingly, on behalf of

 the Debtors, I respectfully submit that the relief requested in the Surety Bond Motion should be

 granted.

 XIV. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
      to Assume the Consulting Agreement, (II) Approving Procedures for Store Closing
      Sales, and (III) Granting Related Relief (the “Store Closing Motion”)

         43.     By the Store Closing Motion, the Debtors seek entry of interim and final orders

 (a) authorizing the Debtors to assume the Consulting Agreement by and among Payless Holdings,

 LLC (the “Merchant”), Payless ShoeSource Canada LP (the “Canadian Merchant,” and together

 with the Merchant, the “Merchants”) and the contractual joint venture comprised of Great

 American Group, LLC and Tiger Capital Group, LLC (together, the “Consultant”) and

 (b) authorizing and approving store closings or similarly themed sales in accordance with the Store

 Closing Procedures, with such sales to be free and clear of all liens, claims, and encumbrances.

         44.     The Debtors, with assistance from their financial advisor Ankura Consulting Group,

 LLC (“Ankura”), and investment banker PJ Solomon, L.P. (“Solomon”), conducted an extensive

 analysis of the performance, sales, and profitability of all of the retail stores across Payless’ North

 American, Latin American and franchised business segments. A majority of the Stores have


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 negative sales trends and have failed to meet the performance standards set by the Debtors. The

 Debtors therefore determined that commencing the Store Closings was the best way under the

 circumstances to maximize the value of the Debtors’ businesses and assets for their estates and

 creditors and, accordingly, the Debtors commenced the Store Closing Sales prior to the Petition

 Date on February 17, 2019 (the “Sale Commencement Date”). 1

          45.     The Debtors thereafter engaged the Consultant to assist in liquidating store

 inventory and associated furniture, fixtures, and equipment and otherwise prepare the stores for

 turnover to the applicable landlords. The Debtors have determined that (a) the services of the

 Consultant are necessary (i) for a seamless and efficient large-scale store closing process and wind

 down, as is contemplated by this Motion, and (ii) to maximize the value of the assets being sold,

 and (b) the Consultant is capable of performing the required tasks on favorable financial terms.

 Therefore, the Debtors seek to assume the Consulting Agreement to allow the Consultant to

 continue its work uninterrupted.

          46.     The Debtors also seek approval of the Store Closing Procedures to sell the Store

 Closure Assets, in each case free and clear of liens, claims, or encumbrances. Certain states in

 which the Debtors operate stores have or may have licensing or other requirements governing the

 conduct of store closing, liquidation, or other inventory clearance sales, including, but not limited

 to, state and local laws, statutes, rules, regulations, and ordinances. Such requirements hamper the

 Debtors’ ability to maximize value in selling their inventory. The Debtors intend to conduct the

 Store Closings in accordance with the Store Closing Procedures without complying with the

 Liquidation Sale Laws. Similarly, the Debtors respectfully request a waiver of any contractual


 1
   For greater certainty, the Sale Commencement Date for any Canadian Stores shall be no earlier than the date on
 which the Approval Order (as defined in the Consulting Agreement) is granted by the Ontario Superior Court of Justice
 (Commercial List) (the “Canadian Court”).

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 restrictions that could otherwise inhibit or prevent the Debtors from maximizing value for creditors

 through the Store Closings.

         47.      The Debtors have determined that, in the exercise of their business judgment and

 in consultation with their advisors, the Store Closing Procedures provide the best and most efficient

 means of selling the Store Closure Assets to maximize the value to their estates. The Consulting

 Agreement contemplates that the Store Closing Sales will end no later than May 31, 2019.

         48.      I believe that the relief requested in the Store Closing Motion is in the best interests

 of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors

 to conduct the Store Closing Sales efficiently for the benefit of all stakeholders. Accordingly, on

 behalf of the Debtors, I respectfully submit that the relief requested in the Store Closing Motion

 should be granted.

 XV.     Debtors’ Motion for an Order Implementing Cross-Border Insolvency Protocol (the
         “Cross-Border Protocol Motion”) 2

         49.      By this Motion, and pursuant to Bankruptcy Code section 105, the Debtors seek

 entry of an Order approving and implementing a procedural protocol which shall govern matters

 with respect to any cross-border issues arising from the Debtors’ concurrent insolvency

 proceedings in the United States and Canada.

         50.      The Debtors’ submit that it is necessary to implement a cross-border protocol

 between this Court and the Canadian Court to address certain issues that are anticipated to arise in

 coordinating the Insolvency Proceedings. The Debtors submit that the relief requested herein is

 essential, appropriate, and in the best interest of the Debtors’ estate, creditors, and all parties in

 interest, and therefore, should be granted in these chapter 11 cases. Specifically, the Protocol is


     2
      Capitalized term not otherwise defined in this section shall have the meaning ascribed to them in the Cross-
     Border Protocol Motion.

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 needed to ensure that: (i) the Insolvency Proceedings are coordinated to avoid inconsistent,

 conflicting or duplicative rulings by the Courts; (ii) all parties in interest are provided sufficient

 notice of key issues in both Insolvency Proceedings; (iii) the substantive rights of all the parties

 are protected; and (iv) the jurisdictional integrity of the Courts is preserved. The Protocol is

 designed to achieve these objectives by implementing a framework of general principles and

 timing considerations to address the basic administrative and procedural issues arising out of the

 cross-border nature of the Insolvency Proceedings. Such coordination is essential and should,

 among other things, maximize the efficiency of the Insolvency Proceedings, reduce the costs

 associated therewith and avoid duplication of effort and the possibility of conflicting rulings by

 the Courts. Accordingly, I respectfully submit that the Court should grant the relief sought in the

 Cross-Border Protocol Motion.

 XVI. Debtors’ Motion for Entry of an Order (I) Establishing Certain Notice, Case
      Management, and Administrative Procedures and (II) Granting Related Relief
      (“Case Management Motion”)

         51.     By this Motion, and pursuant to Bankruptcy Code sections 102(1), 105(a), and

 105(d), Bankruptcy Rules 1015(c), 2002(m), 9006, 9007 and 9014 and Local Bankruptcy Rule

 9004(C), the Debtors seek entry of the Proposed Order (i) approving and implementing certain

 notice, case management, and administrative procedures (the “Case Management Procedures”);

 and (ii) granting related relief.

         52.     Given the size and complexity of these chapter 11 cases, the Debtors believe that

 implementing the Case Management Procedures, as more fully set forth in the Case Management

 Motion, will facilitate the fair and efficient administration of these cases and promote judicial

 economy. Accordingly, I respectfully submit that the Court grant the relief sought in the Case

 Management Motion.


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 XVII. Debtors’ Motion for Entry of an Order Granting Leave to Exceed the Page
       Limitations In Their First Day Pleadings (“Page Limit Motion”)

        53.     By this Motion, and pursuant to Bankruptcy Code section 105(a) and Local Rule

 9004(C), the Debtors seek entry of an Order authorizing the Debtors to exceed the page limitations

 of certain First Day Pleadings filed by the Debtors contemporaneously herewith. Due to the

 complexity and size of the Debtors’ chapter 11 cases, the Debtors submit that an extension of the

 page limitation is warranted. Accordingly. I respectfully submit that the Court grant the relief

 sought in the Page Limit Motion.




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                                   EXHIBIT B

                               Organizational Chart
                                                                                                                                                                                      Payless Holdings LLC
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                                                                                                                                                                               Corporate         02/19/19 04:48:43
                                                                                                                                                                                         Structure                                                                               Main Document                                                  Borrower / Guarantor Under ABL, First Lien Term Loan and Second Lien Term Loan
                                                                                                                                                                                   Pg 50 ofand
                                                                                                                                                                         (Payless Domestic   52Canada)
                                                                                                                                                                                                                                                                                                                                                Borrower / Guarantor / Pledgor Under BVI
                                                                                                                                                                                                Payless Holdings LLC                                                                                                                                                                                 65% Equity Pledged
                                                                                                                                                                                                      (DE/2012)
                                                                                                                                                                                                [Consolidated Parent]                                                                                                                           Non-Wholly Owned JV

                                                                                                                                                                                                                                                                                                                                                                                                     100% Equity Pledged
                                                                                                                                                                                             Payless Intermediate Holdings                                                                                                                      Debtor
                                                                                                                                                                                                          LLC
                                                                                                                                                                                                       (DE/2012)


                                                                                                                                                                                                 WBG - PSS Holdings
                                                                                                                                                                                                        LLC
                                                                                                                                                                                                  (DE/April 2012)



                                                                                                                                                                                                     Payless Inc.
                                                                                                                                                                                                      (DE/1998)



                                                                                                                                                                                                 Payless Finance, Inc.
                                                                                                                                                                                                      (NV/1992)




                                                                    Collective Brands Services,                                                                                                                                                                                                         Payless Gold Value CO, Inc.
                                  Import Solutions de Mexico,                                          PSS Delaware                                                                                                                    Payless Purchasing                 Payless ShoeSource                                                Payless ShoeSource                 Payless ShoeSource
                                                                         Inc. (formerly PSS                                       Shoe Sourcing, Inc.             Payless ShoeSource, Inc.             Eastborough, Inc.                                                                                (CO/2013) (formerly Payless
                                      S. de R.L. de C.V.                                              Company 4, Inc.                                                                                                                     Services, Inc                   Merchandising, Inc.                                                 Distribution, Inc.                 Worldwide, Inc.
                                                                    Delaware Company 3, Inc.)                                         (KS/2000)                          (MO/1961)                        (KS/1999)                                                                                        Gold Value WY, Inc.
                       See               (Mexico/2006)                                                  (DE/1999)                                                                                                                          (KS/1993)                           (KS/1993)                                                         (KS/1993)                          (KS/1993)
                                                                              (DE/1999)                                                                                                                                                                                                                         (WY/2012)
                       Note: 1

                                                                     (D)                                                                                          (C )                                                                                                                                   (A)                             (C )                                (B)




                75%

  Payless ShoeSource
 Internacional Servicios                                                                                  Payless ShoeSource of         Payless NYC, Inc. (formerly
                                        PSS Investment I, Inc.             PSS Investment III, Inc.
Tecnicos E Inspetoria de                                                                                     Puerto Rico, Inc.           PSS Labor Leasing, Inc.)
                                             (NV/1992)                           (KS/1998)
  Calcados S/C LTDA                                                                                             (PR/1991)                       (KS/1997)
      (Brazil/1992)


                25%                                                                       50%
                                                      one share




                                                                                                                                                                                                          See                                   See
                                                                                                                                                                   99%                        1%          Note: 5                               Note: 4
                                                                                                                                                                                                                                                                                                                                                                                                          Payless International
                                                                                 50%
                                                                                                                                                    Payless Netherlands                                                                                      Payless ShoeSource Saipan,                                                                              Collective Brands Franchising          Franchising, LLC
                                                                                                                                                                                     PSS Global Holdings C.V.                 PSS Canada, Inc                                                   Payless Collective GP, LLC       Collective Franchising, Ltd.
                                                                                                                                                       Holdings LLC                                                                                                     Inc.                                                                                                 Services, LLC             (f.k.a. Collective Sourcing
                                                                                                                                                                                       (Netherlands/2017)                      (Kansas/1997)                                                            (DE/2007)                     (Cayman/2008)
                                                                                                                                                      (Kansas/2016)                                                                                                  (NMI/1997)                                                                                              (Kansas/2008)                     Services, LC)
                                                                                                                                                                                                                                                                                                                                                                                                              (Kansas/2008)


                                                                            Payless Controladora,
                                                                                                                                                                         PS459                                                                                                                                                 99.9%
                                                                                S.A. de C.V.
                                                                               (Mexico/1992)
                                                                                                                                                    Collective Brands                                                    Payless ShoeSource Canada                                          Collective Licensing, LP (f.k.a
                                                                                                                                                                                     Payless Netherlands B.V.
                                                                                                                                                 Cayman Finance, Limited                                                            Inc.                                                     Collective International, LP)
                                                                                                                                                                                       (Netherlands/2017)
                                                                                                                                                     (Cayman/2008)                                                             (Canada/1997)                                                          (DE/2006)



                                          Payless Servicios,                                               Payless ShoeSource,
                                            S.A. de C.V.                                                        S.A. de CV                                               PS460
                           See             (Mexico/1992)                                                      (Mexico/1992)
                           Note: 2                                                                                                                                                                                                                                                                                                     Collective Brands
                                                                                                                                                        Collective Brands
                                                                                                                                                                                                                         Payless ShoeSource Canada                                                 Collective Licensing         International Franchising, LLC           Collective Indonesia




                                                                                                                                                                                                                                                              99.9%
                                                                                                                                                        Cayman Finance,                                                                                                                                                                                                                              Payless India Franchising, LLC
                                                                                                                                                                                      See Entities on Page 2                       GP Inc.                                                          International, LLC             (f.k.a. Collective Brands              Franchising, LLC
                                                                                                                                                            Limited II                                                                                                                                                                                                                                      (Kansas/2013)
                                                                                  one share                                                                                                                                    (Canada/2005)                                                            (DE/2003)                Philippines Franchising, LLC)             (Kansas/2010)
                                                                                                                                                         (Cayman/2009)
                                                                                                                                                                                                                                                                                                                                         (Kansas/2008)




                                                                                                                                                                                                                         Payless ShoeSource Canada
                                                                                                                                                                                                                                                                                                       Clinch, LLC
                                                                                                                                                                                                                                     LP
                                                                                                                                                                                                                                                          See                                          (DE/2010)
                                                                                                                                                                                                                               (Canada/2005)
NOTES:                                                                                                                                                                                                                                                    Note: 3
1. One share owned by Payless ShoeSource Worldwide, Inc.
2. PSS Investment I, Inc. owns one share in Payless Servicios, S.A. de C.V. and in Payless ShoeSource, S.A. de C.V.
3. Payless ShoeSource Canada GP Inc. General Partner – 0.1% Payless ShoeSource Canada Inc. Limited Partner – 99.9%
4. 2 shares owned by Payless Finance, Inc.
5. Payless ShoeSource Worldwide, Inc – Limited Partner – 1% and Payless Netherlands Holdings, LLC – General Partner – 99%
(A)   Gold Value operates PSS gift card activities
(B)   PSW is the entrepreneur in supply chain for PSS US – Also holds intellectual property for PSS
(C)   Fixed profit as percentage of sales
(D)   Compensated at cost plus                                                                                                                                                                         Page 1 of 3
                                                                                                                                                                                              Payless Holdings LLC
                                                                                                      Case 19-40883                              Doc 22                  Filed 02/19/19
                                                                                                                                                                                  CorporateEntered  02/19/19 04:48:43
                                                                                                                                                                                             Structure                                                                                        Main Document                                 Borrower / Guarantor Under ABL, First Lien Term Loan and Second Lien Term Loan
                                                                                                                                                                                       Pg  51 of 52
                                                                                                                                                                                 (Payless International)
                                                                                                                                                                                                                                                                                                                                            Borrower / Guarantor / Pledgor Under BVI
                                                                                                                                                                                                                                                                                                                                                                                                    65% Equity Pledged
                                                                                                                                                                                                        Payless ShoeSource                                                                                                                  Non-Wholly Owned JV
                                                                                                                                                                                                          Worldwide, Inc.
                                                                                                                                                                                                             (KS/1993)                                                                                                                                                                              100% Equity Pledged
                                                                                                                                                                                                                                                                                                                                            Debtor

                                                                                                                                                                                                                                                   1%


                                                                                                                                                                              Payless Netherlands               99%                PSS Global Holdings C.V.
                                                                                                                                                                                 Holdings LLC
                                                                                                                                                                                                                                     (Netherlands/2017)               See
                                                                                                                                                                                (Kansas/2016)
                                                                                                                                                                                                                                                                      Note:5



                                                                                                                                                                    PS459


                                                                                                                                                    Collective Brands
                                                                                                                                                                                                                                                               Payless Netherlands B.V.
                                                                                                                                                 Cayman Finance,Limited
                                                                                                                                                                                                                                                                 (Netherlands/2017)
                                                                                                                                                     (Cayman/2008)


                                                                                                                                                                    PS460

                                                                                                                                                    Collective Brands
                                                                                                                                                    Cayman Finance,
                                                                                                                                                        Limited II
                                                                                                                                                     (Cayman/2009)



                                                                 PS497                                                          PS710                                                               PS467                                                             PS462                                                PS461                                                            PS451

                                                                                                            Collective Brands
                                                                                                                                                                                                                                               Collective Brands II                                    Collective Brands                                                PSS International
                                            DynamicAssets Limited                                               Logistics                                                      Payless Sourcing LLC
                                                                                                                                                                                                                                                Coöperatief U.A.                                       Coöperatief U.A.                                                   Holdings, Ltd
                                                 (HK/1999)                                                       Limited                                                            (DE/2016)
                                                                            See                                                         See                                                                                                    (Netherlands/2010)              See                    (Netherlands/2009)           See                                   (Cayman/2007)
                                                                                                           (Hong Kong/2007)
                                   (E)                                      Note:1              (D)                                     Note:4                                                                                                                                 Note:3                                              Note:2

                                                                     (C )                                                         2%                                                98%

                                                                                                                                                                                                                                                                                        (E)
                                                                 PS496                                                          PS711                                                               PS720                                    PS464                                            PS463                                                                                         PS452
                                                                                                                                                                                                                              Payless                                                                                                                                    Collective Brands
                                            Dynamic AssetsLimited                                           Collective Brands                                                  Payless Asia Sourcing                      ShoeSource AU                               Payless Shoes Pty Ltd                                                                           International Holdings,
                                             Representative Office                                          Logistics, Limited                                                         (JV)                               Holdings Pty Ltd                                                            See Entitieson Page 3
                                                                                                                                                                                                                                                                        (Australia/2013)                                                                                     Limited I
                                               (Taipei,Taiwan)                                           Taiwan Branch (Taiwan)                                                       (2016)                              (Australia/2013)                                                                                                                                (Cayman/2007)
                                                                                                (D)


                                                                                                                                                            PS715                                                                  PS735                                                                                                                                                    PS453

                                                                                                                                                                                                                  CollectiveBrands                                                                                                                                       Collective Brands
                                                                                                                                         Collective Brands                                                        Holdings,Limited                                                                                                                                    International Holdings,
                                                                                                                                    Services, Limited(HK/2007)                                                       (HK/2007)                                                                                                                                               Limited II
                                                                                                                                                                        (D)                                                                  (D)                                                                                                                          (Cayman/2007)             (D)



                                                                                                                                                            PS716                                           PS725                                           PS717                                                                                                                           PS455

                                                                                                                                                                                                                                           Collective Brands
                                                                                                                                           Collective Brands                               Shenzhen Footwear
                                                                                                                                                                                                                                           Services Vietnam                                                                                                               PSS Holdings
                                                                                                                                           Services, Limited                               Consulting Company
                                                                                                                                                                                                                                             Company Ltd.                                                                                                                (Cayman/2007)
                                                                                                                                        Taiwan Branch(Taiwan)                                 (China/2003)
                                                                                                                                                                                                                                            (Vietnam/2010)
                                                                                                                                                                        (D)                                                                                             (D)




                                                                                                                                                                                       PS728                                       PS727

                                                                                                                                                                                                                Payless ShoeSource
                                                                                                                                                                 Payless ShoeSource
                                                                                                                                                                                                                 International Limited
                                                                                                                                                                 International Limited
                                                                                                                                                                                                                (Shenzhen)Shanghai
                                                                                                                                                                 (Shenzhen) Xiamen
                                                                                                                                                                                                                  Branch (Shanghai,
                                                                                                                                                                Branch (Xiamen,China)
                                                                                                                                                                                                                        China)

                                                                                                                                                                                       PS726                                       PS729

                                                                                                                                                                 Payless ShoeSource                              Payless ShoeSource
 NOTES:
                                                                                                                                                                  International Limited                          International Limited
1. One Share owned by Collective Brands Services Limited                                                                                                        (Shenzhen)Guangzhou                             (Shenzhen)Dongguan
2. 0.0001726892% owned by Collective Brands Logistics, Limited                                                                                                   Branch (Guangzhou,                                    Branch
3. 0.1% owned by Collective Brands Cayman Finance, Limited                                                                                                               China)                                   (Dongguan,China)
4. Payless Asia Sourcing (JV - 2016) – owned 98% by Payless Sourcing, LLC and 2% by Collective Brands Logistics, Limited
5. Payless ShoeSource Worldwide, Inc. – Limited Partner – 1% and Payless Netherlands Holdings, LLC – General Partner – 99%
(C) Fixed profit as percent of sales
(D) Compensated at cost plus
(E) Collective Brands II Cooperatief U.A. owns the Payless South Africa marks and the rights to the Cuban marks
                                                                                                                                                                                                            Page 2 of 3
                                                                                                                                                                                           Payless Holdings LLC
                                                                                                            Case 19-40883                              Doc 22                Filed 02/19/19   Entered
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                                                                                                                                                                                                Structure                                                                                   Main Document                                                     Borrower / Guarantor Under ABL, First Lien Term Loan and Second Lien Term Loan
                                                                                                                                                                                           PgInternational)
                                                                                                                                                                                     (Payless 52 of 52
                                                                                                                                                                                                                                                                                                                                                              Borrower / Guarantor / Pledgor Under BVI
                                                                                                                                                                                                          Payless Holdings LLC                                                                                                                                                                                     65% Equity Pledged
                                                                                                                                                                                                         (DE/2012) [Consolidated
                                                                                                                                                                                                                 Parent]                                                                                                                                      Non-Wholly Owned JV

                                                                                                                                                                                                                                                                                                                                                                                                                   100% Equity Pledged
                                                                                                                                                                                                                                                                                                                                                              Debtor
                                                                                                                                                                                                         See page 2 for entitiesin
                                                                                                                                                                                                                between


                                                                                                                                                                                                                                         PS461
                                                                                                                                                                                             (E)             Collective Brands
                                                                                                                                                                                                             Coöperatief U.A.
                                                                                                                                                                                                            (Netherlands/2009)           See
                                                                                                                                                                                                                                         Note:1



                                                                PS456                                                                         PS387                                                                              PS391                                                                                                                                           PS396                                            PS450

                                            PSS Latin America                                                                                                                                                                                                                                                                                                   Payless ShoeSource                               Payless International
                                                                                                                            PSS Uruguay SRL                                                                    Payless SRL
                                                Holdings                                                                                                                                                                                                                                                                                                         Peru Holding, S.L.                                  Finance B.V.
                                                                                                                             (Uruguay/2015)                                                                  (Paraguay/2015)
                                             (Cayman/2002)                                                                                             See                                                                               See                                                                                                                       (Spain/2016)           See                     (Netherlands/2001)        See
                                                                                                                                                       Note:13                                                                           Note:14                                                                                                                                          Note:15                                           Note:17


                                                                PS457                                                                                                                                                                                                                                                                     PS370                                  PS397                                            PS465




                                                                                                                                                                                                                                                                                 0.0667%




                                                                                                                                                                                                                                                                                                   One Share
                                      Payless CA Management                                                                                                                                                                                                                                                            Payless ShoeSource                       Payless ShoeSource                              Payless ShoeSource
                                        LTD. (British Virgin                                                                                                                                                                                                                                                            Andean Holdings                             Peru S.R.L.                                 Spain Licensing, S.L.
                                           Islands/2000)                See                                                                                                                                                                                                                                              (Cayman/2002)               See            (Peru/2016)           See                      (Spain/2016)
                                                                        Note:2                                                                                                                                                                                                                                                                       Note:3                               Note:16


                        PS350                                                                                                                                                                                                                                        PS458                                                                PS371                                                                                     PS466

     Payless ShoeSource                                                                                                                                                                                                                                                                                                Payless ShoeSource
                                                                                                                                                                                                                                                   Payless CO Management
     (BVI) Holdings, Ltd.                                                                                                                                                                                                                                                                                                 Uruguay SRL                                                                            Panama SEMBranch
                                                                                                                                                                                                                                                      LTD. (British Virgin
        (British Virgin                                                                                                                                                                                                                                                                                                  (Uruguay/2002)                                                                            (Panama/2016)
                                See                                                                                                                                                                                                                     Islands/2007)
        Islands/2000)                                                                                                                                                                                                                                                                                                   FinanceCompany
                                Note:4



              PS358                   PS351                        PS359                       PS352                   PS354                     PS361                    PS363                    PS353                         PS349                               PS380                                     PS372                           PS373
   Payless                                               Payless                                             Payless                                              Payless                 Payless
                            Payless                                                  Payless                                             Payless                                                                                                       Payless Colombia                         Payless                               Payless
 ShoeSource                                           ShoeSource                                         ShoeSource de la                                       ShoeSource            ShoeSource of El            PSS International
                          ShoeSource,                                             ShoeSource de                                    ShoeSource of St.                                                                                                  (BVI) Holdings Ltd.                     ShoeSource                          ShoeSource Spain,
Honduras S. DE                                          Limitada y                                          Republica                                          Overseas S.R.L         Salvador Ltda. De            Sourcing S.R.L.
                            Limitada                                             Guatemala LTDA                                        Lucia, Ltd                                                                                                        (British Virgin                   Ecuador CIA Ltda                             S.L.
 R.L. (Rep of                                      Compania Limitada                                     Dominicana, S.R.L.                                       (Rep of                   C.V.                  (Costa Rica/2018)
                        (Costa Rica/2000)                                        (Guatemala/2001)                                   (St. Lucia/2001)                                                                                                     Islands/2007)                      (Ecuador/2001)                          (Spain/2004)
Honduras/2002)                                      (Nicaragua/2002)                                        (DR/2001)                                          Panama/2002)          (El Salvador/2001)
             See                                                        See                     See                    See                                                                         See                                                               See
             Note:5                                                     Note:6                  Note:7                 Note:8                                                                      Note:9                                                            Note:11

                                                                                               PS356                  PS360                      PS362                       PS369                 PS368                                                             PS381
                                                                                      Payless                                                                                                                                                              Payless
                                                                                                              Payless                   Payless                    Payless                Payless
                                                                                    ShoeSource                                                                                                                                                        ShoeSource PSS
                                                                                                            ShoeSource                ShoeSource                 ShoeSource           ShoeSource St.
                                                                                 Trinidad Unlimited                                                                                                                                                  De Colombia S.A.S
                                                                                                          Jamaica Limited           (Barbados) SRL              Dominica Ltd.            Kitts Ltd.
                                                                                     (Trinidad &                                                                                                                                                       (formerly Ltda)     See
                                                                                                          (Jamaica/2010)            (Barbados/2010)            (Dominica/2014)        (St. Kitts/2014)
                                                                                   Tobago/2001)                                                                                                                                                       (Colombia/2008)      Note:10


                                                                                                                                PS366                                PS367                                                                           PS357

                                                                                                                     Payless                                 Payless                                                              Payless ShoeSource
                                                                                                                   ShoeSource                             ShoeSource                                                             (Panama) S.A. (Rep of
                                                                                                                 (Barbados) SRL                         (Barbados) SRL                                                              Panama/2001)
                                                                                                                 Grenada Branch                        St. Vincent Branch                                                           Retail Company           See
                                                                                                                                                                                                                                                             Note:18
                                                                                                                                PS364                                PS365

                                                                                                                         Payless                             Payless
  NOTES:
                                                                                                                      ShoeSource                           ShoeSource
  1. 0.0001726892% owned by Collective Brands Logistics, Limited
                                                                                                                    (Barbados) SRL                       (Barbados) SRL
  2. One share owned by Payless ShoeSource, Inc.
                                                                                                                    St. Lucia Branch                     Antigua Branch
  3. South America Local Partners S.A. – 40% PSS Latin America Holdings – 60%
  4. PLP S.A. – 40% Payless CA Management Ltd. - 60%
  5. Payless ShoeSource (BVI) Holdings, Ltd. – 98% Payless ShoeSource, Limitada – 2%                                                                                                                                                                                                       Zurivides Cia. Ltda                    Bacate Cia. Ltda
  6. Payless ShoeSource (BVI) Holdings, Ltd. – 99% Payless ShoeSource, Limitada – 1%                                                                                                                                                                                                        (Ecuador/2009)                        (Ecuador/2009)
  7. Payless ShoeSource (BVI) Holdings, Ltd. – 99.98% Payless ShoeSource, Limitada – .02%
  8. Payless ShoeSource (BVI) Holdings, Ltd. – 999 shares Payless ShoeSource, Limitada – 1 share
  9. Payless ShoeSource (BVI) Holdings, Ltd. – 99.99% Payless ShoeSource, Limitada – 0.1%                                                                                                                                                                                                                               See
  10. Payless Colombia (BVI) Holdings, Ltd. – 60,524,009 quotas Payless CA Management Limited – 1 quota                                                                                                                                                                                                                 Note:12
  11. Payless CO Management Ltd. – 60% Patagonia Capital Limited – 30% Pataya Inc., – 10%
  12. This entity is owned by Xavier Rosales of our law firm Corral & Rosales
  13. Collective Brands Coöperatief U.A. – 99% and Collective Brands II Coöperatief U.A. – 1%
  14. Collective Brands Coöperatief U.A. – 99% and is Oscar Brelles Mariño Dicen– 1%
  15. Payless ShoeSource Peru Holding, S.L. is a JV entity which is owned 60% by Collective Brands Cooperatief U.A. and 40% by Bluestone Financials Inc.
  16. Payless ShoeSource Peru Holding, S.L. owns 9,999 quotas and Collective Brands II Cooperatief U.A. owns 1 quota
  17. Payless International Finance B.V. and its subsidiary, Payless ShoeSource Spain Licensing, S.L., moved under Collective Brands Cooperatieff U.A.
  18. 500 shares are owned (250 & 250) by our law firm in trust on behalf of Payless ShoeSource (BVI) holdings, Ltd
                                                                                                                                                                                                             Page 3 of 3
